       Case 1:16-cv-02920-CAP Document 182 Filed 10/01/19 Page 1 of 5




                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

GENEVA HENDERSON, et al.,

                        Plaintiffs,

            v.                          Civil Action No. 1:16-cv-02920-CAP

EMORY UNIVERSITY, et al.,

                        Defendants.


    DEFENDANTS’ MOTION TO EXCLUDE PROPOSED EXPERT
   TESTIMONY OF WENDY DOMINGUEZ AND GERALD BUETOW

      Defendants Emory University, Emory Healthcare, Inc., the Emory Pension

Board, Emory Investment Management, Mary L. Cahill, Mary Beth Allen, Dallis

Howard-Crow, Dr. Douglas Morris, James T. Hatcher, Peter Barnes, Carol Dillon

Kissal, Edith Murphree, Ronnie Jowers, Jane Jordan, Christian P. Larsen, Maureen

Haldeman, and Ira R. Horowitz (collectively, “Emory”) hereby move to exclude

the proposed testimony of Plaintiffs’ experts, Wendy Dominguez and Dr. Gerald

Buetow, pursuant to Federal Rule of Evidence 702 and governing precedent. In

support, Emory relies upon the accompanying Memorandum and exhibits.
       Case 1:16-cv-02920-CAP Document 182 Filed 10/01/19 Page 2 of 5




      WHEREFORE, for the reasons set forth in the Memorandum, Emory

respectfully requests that the Court grant its Motion and exclude any proposed

testimony from Wendy Dominguez or Dr. Gerald Buetow.

      Respectfully submitted this 1st day of October, 2019.

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                                        2
Case 1:16-cv-02920-CAP Document 182 Filed 10/01/19 Page 3 of 5




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                              3
       Case 1:16-cv-02920-CAP Document 182 Filed 10/01/19 Page 4 of 5




                     CERTIFICATE OF COMPLIANCE

      I certify that the foregoing brief has been prepared in accordance with Local

Rule 5.1, including preparation in Times New Roman 14-point font, one of the font

and point selections approved by the Court in Local Rule 5.1(C).


            This 1st day of October, 2019.

                                             s/ Matthew J. Sharbaugh      .
                                             Matthew J. Sharbaugh
          Case 1:16-cv-02920-CAP Document 182 Filed 10/01/19 Page 5 of 5




                             CERTIFICATE OF SERVICE

        I certify that I caused to be served a true and correct copy of the foregoing to

be filed with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to all parties to this matter via electronic notification or

otherwise.


                 This 1st day of October, 2019.

                                                  s/ Matthew J. Sharbaugh     .
                                                  Matthew J. Sharbaugh




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